       Case 1:07-cr-00268-AWI Document 169 Filed 11/13/08 Page 1 of 2


 1   DALE A. BLICKENSTAFF - #40681
     2350 West Shaw Avenue, Suite 132
 2   Fresno, California 93711
     (559) 432-0986 Telephone
 3   (559) 432-4871 Facsimile

 4
     Attorney for Defendant, KEMPHONE VIENGXAY
 5

 6

 7                      IN THE UNITED STATES DISTRICT COURT FOR THE

 8                               EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,             )                   Case No. 1:07-cr-00268 OWW
                                           )
11                     Plaintiff,          )                   STIPULATION AND ORDER FOR A
                                           )                   RESETTING OF SENTENCING
12   v.                                    )                   HEARING
                                           )
13   KEMPHONE VIENGXAY.                    )                   Date:      November 17, 2008
                                           )                   Time:      9:00 a.m.
14                     Defendant.          )                   Courtroom: Honorable Oliver W. Wanger
                                           )
15   _____________________________________ )

16          IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and

17   the defendant by and through her attorney, that the hearing date set for sentencing be continued to

18   December 15, 2008 at 9:00 a.m.

19   ///

20   ///

21   ///

22   ///

23   ///

24   ///

25   ///

26   ///

27   ///

28                            Stipulation and Order for a Resetting of Sentencing Hearing
                                             Case No.:1:07-cr-00268 OWW
       Case 1:07-cr-00268-AWI Document 169 Filed 11/13/08 Page 2 of 2


 1            The defense is continuing to collect medical information regarding defendant’s adult daughter

 2   for whom she provides care giver services. The defense will ask the Court to give consideration to

 3   this fact at sentencing.

 4            A co-defendant on this case is being sentenced on December 15, 2008 at 9:00 a.m. as well.

 5                                                      Respectfully submitted,

 6

 7   DATED: November 13, 2008                           /s/ Dale A. Blickenstaff
                                                        DALE A. BLICKENSTAFF
 8                                                      Attorney for Defendant,
                                                        KEMPHONE VIENGXAY
 9

10   DATED: November 13, 2008                           /s/ Laurel J. Montoya
                                                        Laurel J. Montoya
11                                                      Assistant United States Attorney

12

13                                                      ORDER

14

15
              IT IS SO ORDERED.
16
     Dated:      November 13, 2008                          /s/ Oliver W. Wanger
17   0c0j70                                            UNITED STATES DISTRICT JUDGE

18

19

20

21

22

23

24

25

26

27

28                              Stipulation and Order for a Resetting of Sentencing Hearing
                                               Case No.:1:07-cr-00268 OWW
                                                                                                     Page 2
